                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.2)
                                Eastern Division

Organized Communities Against Deportations, et
al.
                                                     Plaintiff,
v.                                                                Case No.: 1:25−cv−00868

BENJAMINE HUFFMAN, et al.
                                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Saturday, January 25, 2025:


        MINUTE entry before the Honorable Edmond E. Chang: Judge Chang is serving
as emergency judge. On review of the complaint, R. 1, and the motion for TRO and
preliminary injunction, R. 2, the government shall respond to the TRO motion on or
before 12 p.m. on 01/29/2025. The Plaintiffs shall any reply by 5 p.m. on 01/30/2025.
This strikes a balance between the asserted need for speed by the Plaintiffs with the gaps
in the TRO aspect of the motion (which also seeks a preliminary injunction). The motion
does not argue how Civil Rule 65(b)(1)(A), which would otherwise allow for a TRO
without a response from the government, has been satisfied. The rule requires the filing of
an affidavit or verified complaint clearly showing that immediate and irreparable injury
will result before the government can be heard in opposition. No affidavit or verified
complaint has been filed, let alone one that satisfies the requirement. Nor does the brief in
support of the motion actually set forth an argument that is specific to a TRO's additional
requirements, as distinct from the preliminary−injunction argument. Also, there is
substantial reason to question whether the alleged injury to the organizations (potentially
distinct from individuals) would justify a no−response TRO. Having said all this, this
Order of course does not prevent the assigned judge (case assignment should be processed
on 01/27/2025) from either accelerating or decelerating this schedule. A copy of this
Order shall be emailed to the Chief of the Civil Division of the U.S. Attorney's Office for
the Northern District of Illinois. (The Plaintiffs earlier provided a copy of the complaint
and the motion to the Chief of the Civil Division.) Emailed notice (mw, )




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